                            Case 4:18-cv-01474-HSG Document 41 Filed 09/19/18 Page 1 of 3



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                      (erroneously sued as Goodfellow Top Grade)
                    7

                    8 TRINA HILL
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                    9 501 Lisa Ann Court
                      Bay Point, CA 94565
                   10 Telephone: 510.932.6266

                   11 Plaintiff in Pro Se

                   12                                   UNITED STATES DISTRICT COURT

                   13                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

                   14

                   15 TRINA HILL,                                        CASE NO. 4:18-cv-01474-HSG

                   16                      Plaintiff,                    REVISED PROPOSED STIPULATION
                                                                         AND ORDER REGARDING
                   17             vs.                                    SCHEDULING

                   18 GOODFELLOW TOP GRADE,
                   19                      Defendant.

                   20

                   21            Plaintiff TRINA HILL (“Plaintiff”) and Defendant GOODFELLOW TOP GRADE
                   22 CONSTRUCTION LLC (“Defendant”) agree and stipulate regarding the following proposed

                   23 schedule:

                   24            1. Last day to Amend Pleadings: October 1, 2018
                   25            2. Settlement Conference/Mediation: January 2019
                   26            3. Non-Expert Discovery Cut-Off: February 15, 2019
                   27            4. Dispositive Motion Filing Cut-Off: March 15, 2019
                   28
LEWIS                            5. Expert Disclosures: March 29, 2019
BRISBOIS
BISGAARD                4826-9690-8402.1                                 1                            4:18-cv-01474-HSG
& SMITH LLP                                              PROPOSED STIPULATION AND ORDER
ATTORNEYS AT LAW
                            Case 4:18-cv-01474-HSG Document 41 Filed 09/19/18 Page 2 of 3



                    1            6. Expert Discovery Cut-Off: May 1, 2019

                    2            7. Pre-Trial Conference: July 30 2019

                    3            8. Jury Trial: August 13, 2019

                    4            IT IS SO STIPULATED AND AGREED:

                    5 DATED: September 19, 2018                      LEWIS BRISBOIS BISGAARD & SMITH          LLP

                    6                                        By:     /s/ Allison L. Shrallow
                                                                     Joseph R. Lordan
                    7                                                Allison L. Shrallow
                                                                     Attorneys for Defendant GOODFELLOW TOP GRADE
                    8                                                CONSTRUCTION, LLC

                    9
                        DATED: September 19, 2018
                   10

                   11
                                                                   By: /s/Trina Hill
                   12
                                                                       Trina Hill
                   13                                                  Plaintiff In Pro Se

                   14
                                                            [PROPOSED] ORDER
                   15
                                 PURSUANT TO STIPULATION, IT IS SO ORDERED,
                   16

                   17 DATED: September ___, 2018

                   18
                   19
                                                                      Hon. Haywood S. Gilliam, Jr.
                   20

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LEWIS
BRISBOIS
BISGAARD                4826-9690-8402.1                                  2                             4:18-cv-01474-HSG
& SMITH LLP                                            PROPOSED STIPULATION AND ORDER
ATTORNEYS AT LAW
                            Case 4:18-cv-01474-HSG Document 41 Filed 09/19/18 Page 3 of 3



                    1                          FEDERAL COURT CERTIFICATE OF SERVICE

                    2              Trina Hill v. Goodfellow Top Grade - U.S. District Court-ND, Oakland Division,

                    3                                     Case No. 4:18-CV-01474-HSG

                    4 STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO

                    5         At the time of service, I was over 18 years of age and not a party to the action. My
                      business address is 333 Bush Street, Suite 1100, San Francisco, CA 94104-2872. I am employed
                    6 in the office of a member of the bar of this Court at whose direction the service was made.

                    7        On September 19, 2018, I served the following document(s): REVISED PROPOSED
                        STIPULATION AND ORDER REGARDING SCHEDULING
                    8
                            I served the documents on the following persons at the following addresses (including fax
                    9 numbers and e-mail addresses, if applicable):

                   10    Trina Hill                                     Tel: 510.932.6266
                         501 Lisa Ann Court                             Email: trinamhill.th@gmail.com
                   11    Bay Point, CA 94565
                         Plaintiff In Pro Se
                   12

                   13            The documents were served by the following means:
                   14
                                (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package addressed to
                                 the persons at the addresses listed above and I deposited the sealed envelope or package
                   15            with the U.S. Postal Service, with the postage fully prepaid.
                   16
                                (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically filed the
                                 documents with the Clerk of the Court using the CM/ECF system, which sent notification
                   17            of that filing to the persons listed above.
                   18         I declare under penalty of perjury under the laws of the United States of America and the
                   19 State of California that the foregoing is true and correct.
                              Executed on September 19, 2018, at San Francisco, California.
                   20

                   21

                   22                                                    /s/Berenice Barragan
                                                                         Berenice Barragan
                   23

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LEWIS
BRISBOIS
BISGAARD                4826-9690-8402.1                                                                   4:18-cv-01474-HSG
& SMITH LLP                                                   CERTIFICATE OF SERVICE
ATTORNEYS AT LAW
